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                           COMMONWEALTH OF KENTUCKY




                                                                                              B4C22244-3B18-48FE-8A18-A2B30174D565 : 000001 of 000002
                                BELL CIRCUIT COURT
                               44TH JUDICIAL CIRCUIT
                            CIVIL ACTION NO. 18-CI-00413

 JERRY WOOLUM, M.D., P.S.C.                                             PLAINTIFF

 v.

 AMERICORE HEALTH, LLC

 PINEVILLE COMMUNITY HOSPITAL ASSOCIATION, INC.

 PINEVILLE MEDICAL CENTER, LLC
 d/b/a SOUTHEASTERN KENTUCKY MEDICAL CENTER                           DEFENDANTS


                               NOTICE OF BANKRUPTCY



                             ***ELECTRONICALLY FILED ***

       The undersigned has learned and notice is hereby given that on the 29th day of

 November 2018, a Chapter 7 Bankruptcy proceeding was filed for the Defendant,

 Pineville Community Hospital Association, Inc., in the United States Bankruptcy Court

 for the Eastern District of Kentucky, London Division, being case number 18-61486.

       Given this filing, the Plaintiff can no longer pursue this action against Defendant,

 Pineville Community Hospital Association, Inc., pursuant to the automatic stay entered

 in the Bankruptcy Case.    Thus, Plaintiff seeks no action against Defendant, Pineville

 Community Hospital Association, Inc. and has no objection to said Defendant being

 dismissed as a Party.

                                          Respectfully Submitted,

                                          _/s/Christopher F. Douglas__________
                                          CHRISTOPHER F. DOUGLAS
                                          Douglas Law Office, PLLC
                                          P.O. Box 158
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                                         Pineville, Kentucky 40977




                                                                                            B4C22244-3B18-48FE-8A18-A2B30174D565 : 000002 of 000002
                                         Attorney for Plaintiff



                             CERTIFICATE OF SERVICE:

         I hereby certify that a true and correct copy of the foregoing was served by
 electronically via the KY Courts efiling system and/or mailing same, postage pre-paid to
 the following on this _16th_ day of _January_ 2019:

 ORIGINAL:

 Bell Circuit Court
 P.O. Box 307
 Pineville, Kentucky 40977

 COPIES:

 Pineville Community Hospital
 133 Woodland Trial
 Pineville, Kentucky 40977




                                         __/Christopher F. Douglas______
                                         CHRISTOPHER F. DOUGLAS
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                           COMMONWEALTH OF KENTUCKY
                                BELL CIRCUIT COURT
                               44TH JUDICIAL CIRCUIT
                            CIVIL ACTION NO. 18-CI-00413

                                       Electronically Filed

 JERRY WOOLUM, M.D., P.S.C.                                                   PLAINTIFF

 v.

                      ANSWER AND MOTION TO DISMISS OF
                         AMERICORE HEALTH, LLC AND
                      PINEVILLE MEDICAL CENTER, LLC d/b/a
                   SOUTHEASTERN KENTUCKY MEDICAL CENTER

 AMERICORE HEALTH, LLC, PINEVILLE
 COMMUNITY HOSPITAL ASSOCIATION, INC.
 and PINEVILLE MEDICAL CENTER, LLC d/b/a
 SOUTHEASTERN KENTUCKY MEDICAL CENTER                                         DEFENDANTS

                                   *        *       *         *

                                        MOTION TO DISMISS

        Come the Defendants, Americore Health, LLC and Pineville Medical Center, LLC

 d/b/a Southeastern Kentucky Medical Center, by counsel, and move the Court pursuant

 to CR 12.02 to dismiss the Complaint for failure to state a claim as to these Defendants

 upon which relief can be granted. For grounds it is stated that the claims asserted against

 the Defendants are not brought against the proper party and/or such claims are not

 available to Plaintiff under the express language of said alleged contract or referenced

 statutes and/or such claims are not supported by the facts existing or alleged herein. Said

 motion will be brought on to be heard at a later time after proper notice.
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                                           ANSWER
        Come the Defendants, Americore Health, LLC (“Americore”) and Pineville Medical

 Center, LLC d/b/a Southeastern Kentucky Medical Center (“PMC”), by counsel, and for

 its Answer state as follows:

                                     FIRST DEFENSE

        The Plaintiff’s Complaint fails to state a cause of action against the answering

 Defendants upon which relief can be granted and should, therefore, be dismissed.

                                     SECOND DEFENSE

        Plaintiff’s claims are or may be barred by the applicable statute of limitations.

                                      THIRD DEFENSE

        Plaintiff’s Complaint fails to join necessary and/or proper parties to the subject

 contract and claims.

                                     FOURTH DEFENSE

        1. The answering Defendants are without knowledge or information sufficient to

 form a belief as to the truth of the allegations contained in numerical paragraphs 1, 3, 5,

 6, 7, 8 of the Complaint, and therefore, deny same.

        2. The answering Defendants admit the allegations of numerical paragraphs 2 and

 4 of the Complaint.

        3. The answering Defendants deny the allegations in numerical paragraphs 9, 10,

 12, 13, 14, 16, 17, 18, 20, 21, 22, 24, and 25 as to these answering Defendants, and are

 without knowledge or information sufficient to form a belief as to the truth of the allegations

 regarding the other named Defendant.




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        4. These answering Defendants incorporate herein, by reference, each answer

 and defense set forth herein in response to the paragraphs reiterated and incorporated in

 numerical paragraphs 11, 15, 19, and 23 of the Complaint.

        5.   These answering Defendants affirmatively deny that they are in breach of any

 contractual or statutory duties or obligations owing to Plaintiff.

        6. These answering Defendants deny each and every allegation not specifically

 admitted herein, and deny that Plaintiff is entitled to the relief requested or any relief

 against these answering Defendants.

                                      FIFTH DEFENSE

        The Plaintiff’s alleged injuries and damages, if any, were the direct and proximate

 result of their own acts, omissions, fault, and/or breach of duty and/or the independent

 acts of parties or third persons over whom these answering Defendants exercised no

 direction or control, requiring the dismissal of the Complaint as against these Defendants.

                                      SIXTH DEFENSE

        The injuries and damages of which Plaintiff complains, if any, resulted from some

 superseding and/or intervening cause or causes over which these Defendants had no

 responsibility or control and these Defendants rely upon same as a complete bar to the

 claims made against them herein.

                                    SEVENTH DEFENSE

        The injuries and damages of which Plaintiff complains, if any, resulted from some

 pre-existing or subsequent conditions, which were unrelated to any actions of the

 answering Defendants.




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                                     EIGHTH DEFENSE

        The Plaintiff has failed to mitigate damages, if any, and/or has failed to pursue all

 necessary and/or available remedies, including, but not limited to filing a proof of claim in

 the bankruptcy filing of the Co-Defendant, Pineville Community Hospital Association, with

 which Plaintiff alleges that he entered into the subject contract for which he seeks

 damages.

                                      NINTH DEFENSE

        These answering Defendants rely upon the automatic stay provisions found in 11

 U.S.C.A. § 362 of the Bankruptcy Code as a partial and/or complete bar to all claims

 asserted in the Complaint.

                                      TENTH DEFENSE

        Plaintiff’s claims fail as a result of the doctrines of unclean hands, waiver, estoppel,

 license, statute of frauds and laches.

                                   ELEVENTH DEFENSE

        Plaintiff’s claims may be barred, in whole or in part, by his own material breaches,

 frauds, material misrepresentations, omissions, failure to satisfy conditions precedent,

 lack of consideration, and/or to properly perform under agreements relevant to his claims.

                                    TWELFTH DEFENSE

        Plaintiff’s claims are barred by the doctrines of payment, settlement and/or release.

                                  THIRTEENTH DEFENSE

        Plaintiff’s damages, if any, were not proximately caused by any actions or inactions

 of these answering Defendants.




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                                  FOURTEENTH DEFENSE

        Plaintiff’s claims for punitive damages are barred in whole or in part by KRS

 411.186 and are also barred as a violation of these Defendants’ rights guaranteed under

 the Fourth, Fifth, Sixth, Eighth and Fourteenth Amendments of the United States

 Constitution and the analogous provisions of the Constitution of the Commonwealth of

 Kentucky.

                                    FIFTEENTH DEFENSE

        These Defendants reserve the right to assert any and all additional affirmative

 defenses, counterclaims, cross-claims, third-party claims or any other claims as

 investigation and discovery may prove applicable.

        WHEREFORE the Defendants, Americore Health, LLC and Pineville Medical

 Center, LLC d/b/a Southeastern Kentucky Medical Center, respectfully demand as

 follows:

        1. That Plaintiff’s Complaint be dismissed with prejudice;

        2. That it recover its costs herein expended;

        3. For trial by jury of all triable issues;

        4. For any and all other relief to which it may appear entitled.

                                             Respectfully submitted,

                                             /s/ Pamela Adams Chesnut_______________
                                             PAMELA ADAMS CHESNUT
                                             RONALD L. GREEN
                                             GREEN CHESNUT & HUGHES, PLLC
                                             201 East Main Street, Suite 800
                                             Lexington, KY 40507
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                                             pchesnut@gcandh.com
                                             rgreen@gcandh.com
                                             ATTORNEY FOR DEFENDANTS

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                                          AMERICORE HEALTH, LLC AND
                                          PINEVILLE MEDICAL CENTER

                               CERTIFICATE OF SERVICE


       This is to certify that a true and accurate copy of the foregoing has been served by

 electronic mail upon the following on this the 21st day of January, 2019:

 Christopher F. Douglas
 Douglas Law Office, PLLC
 P.O. Box 158
 Pineville, Kentucky 40977
 chris@chrisdouglaslaw.com
 ATTORNEY FOR PLAINTIFF

                                          /s/ Pamela Adams Chesnut_______________
                                          COUNSEL FOR DEFENDANTS
                                          AMERICORE HEALTH, LLC AND
                                          PINEVILLE MEDICAL CENTER




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